Case 2:05-cr-200lO-.]DB Document 32 Filed 04/25/05 Page 1 of 2 Page|D 26

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vs. Crimina| No. 05- 20010-B

ALBERT KlN LEE

 

ORDER

 

This cause came onto be heard this date upon written motion of the United States
for additional time in which to file a Response to Defendant Lee’s |V|otion To Transfer Triai
For Convenience.

lT SAT|SFACTOR|LY APPEAR|NG TO THE COURT that the motion ofthe United
States should be granted for good cause shown;

lT |S THEREFORE ORDERED that the time within which the United States is to file
its Response to Defendant Lee’s pending |V|otion To Transfer Tria| For Convenience is

hereby extended to Friday, Niay 6, 2005.

'.r\»
Enter this §§ day of Apri|, 2005.

 

J. A iEL BREEN `
U ite States District Judge

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This notice confirms a copy of the document docketed as number 32 in
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Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

